Case 2:90-cv-00520-KJM-SCR   Document 4707-3   Filed 07/24/13   Page 1 of 4




                             Exhibit 3
    Case3:90-cv-03094-TEH Document2186-1 Filed01/21/11 Page1 of 3
Case 2:90-cv-00520-KJM-SCR Document 4707-3 Filed 07/24/13 Page 2 of 4


 1   WILSON, SONSINI, GOODRICH & ROSATI
     DAVID S. STEUER - 127059
 2   650 Page Mill Road
     Palo Alto, CA 94303-1050
 3   Telephone (650) 493-9300
 4   PRISON LAW OFFICE
     DONALD SPECTER - 083925
 5   STEVEN FAMA - 99641
     1917 Fifth Street
 6   Berkeley, CA 94710-1916
     Telephone: (510) 280-2621
 7   Facsimile: (510) 280-2704
     Attorneys for Plaintiffs
 8
 9
                                 IN THE UNITED STATES DISTRICT COURT
10
                                    NORTHERN DISTRICT OF CALIFORNIA
11
                                             SAN FRANCISCO DIVISION
12
13
                                                                      No. C-90-3094 T.E.H.
14
                                                                      DECLARATION OF STEVEN FAMA
15      ALEJANDRO MADRID, et al.,                                     IN SUPORT OF PLAINTIFFS’
                                                                      RESPONSE TO THE COURT’S
16                                   Plaintiffs,                      ORDER TO SHOW CAUSE RE
                                                                      FORCE-RELATED ORDERS
17
        v.
18
        MATTHEW CATE, et al.,
19
20                                   Defendants.

21
22
23            I, Steven Fama, declare as follows:
24            1. I am a lawyer employed by the Prison Law Office and one of the co-counsel for
25   the plaintiff class in this action.
26            2. After defendants in this action filed notice on August 30, 2010, that a new
27   statewide use-of-force policy had been adopted, I on September 16, 2010 requested
28

     Decl. of S. Fama re Pltffs’ Response to OSC re Force-Related Orders
     Madrid v. Cate, C-90-3094 T.E.H.
                                                                  1
    Case3:90-cv-03094-TEH Document2186-1 Filed01/21/11 Page2 of 3
Case 2:90-cv-00520-KJM-SCR Document 4707-3 Filed 07/24/13 Page 3 of 4


 1   information and documents from them regarding the actual implementation of the newly
 2   adopted policy, including whether staff post orders had been modified so that employees
 3   were required to follow the new policy and whether staff had been or would be trained
 4   regarding it.
 5            3. In response to my request defendants on November 18, 2010 provided
 6   approximately 225 pages of documents. On January 3, 2011, I requested additional
 7   information and documents, and on January 18, 2011 defendants provided an another
 8   approximately 50 pages of material.
 9            4. Among other things, these documents show that post order addendums
10   referencing the new policy have been issued at all 33 prisons, and that modifications
11   referencing the new policy will be made to the formal post orders will be made over the
12   next approximately one year, during the regularly scheduled annual revision processes.
13            5. In addition, the documents describe Defendants’ four-phase training plan: (1)
14   prompt on-the-job training for all custody staff regarding the new statewide use-of-force
15   policy; (2) prompt centralized training on the policy for each prison’s Use-of-Force
16   Coordinators and Training Manager on the policy; (3) prompt in-service training on the
17   policy for managers, supervisors, and use-of-force instructors at each prison ; and (4) a
18   more comprehensive in-service training session regarding the new statewide policy for all
19   staff, to be completed within a 12 month period in accordance with employees’ annual
20   training schedule.
21            6. The documents provided by Defendants show that the first three phases of the
22   use-of-force staff training plan have been completed, except for an extremely small
23   number of staff who have been away from work since August 2010. The documents also
24   show that the final phase of the training plan, involving the more comprehensive in-
25   service training of all staff, has begun at each prison. Those documents show that: (a) as
26   of October 1, 2010 – the most recent date for which data is available – approximately
27   12,000 CDCR staff had received the required in-service training regarding the new
28

     Decl. of S. Fama re Pltffs’ Response to OSC re Force-Related Orders
     Madrid v. Cate, C-90-3094 T.E.H.
                                                                  2
    Case3:90-cv-03094-TEH Document2186-1 Filed01/21/11 Page3 of 3
Case 2:90-cv-00520-KJM-SCR Document 4707-3 Filed 07/24/13 Page 4 of 4


 1   Statewide use-of-force policy; and (b) all prisons are proceeding with in-service training
 2   for the remaining staff pursuant to the annual training schedule and that it is anticipated
 3   that on or before August 1, 2011 all will have received it.
 4            I declare under penalty of perjury that the foregoing is true and correct and that this
 5   declaration was executed on January 21, 2011 at Berkeley, California
 6
 7                                                             /s/ Steven Fama
 8                                                            Steven Fama
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Decl. of S. Fama re Pltffs’ Response to OSC re Force-Related Orders
     Madrid v. Cate, C-90-3094 T.E.H.
                                                                  3
